              DISTRICT COURT OF APPEAL OF FLORIDA
                        SECOND DISTRICT


                  MILTON ANTHONY BRADSHAW, JR.,

                                Appellant,

                                    v.

                          STATE OF FLORIDA,

                                 Appellee.


                            No. 2D2023-0537


                             August 23, 2024

Appeal from the Circuit Court for Hillsborough County; Barbara Twine
Thomas, Judge.

Howard L. Dimmig, II, Public Defender, and Tosha Cohen, Assistant
Public Defender, Bartow, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Sonia C. Lawson,
Assistant Attorney General, Tampa, for Appellee.

PER CURIAM.

     Affirmed.

NORTHCUTT, VILLANTI, and SMITH, JJ., Concur.


Opinion subject to revision prior publication.
